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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



 Ragaglia, et al.,

                                       Plaintiff(s),
                                                                       MEDIATION
                                                                     CERTIFICATION

                                                                       19 - cv - 06006.-C S — Mt.t.)   P
                                v.



 Pontillo's Pizzeria-Gates et al.,

                                     Defendant(s).




    I hereby certify that:

    The mediation session scheduled for                     has been adjourned to

n Case settled prior to the first mediation session.
    Mediation session was held on        /(1 r         i' 201
    17 Case has settled. (Comment if necessary).
    LI Case has settled in part. (Comment below). Mediation will continue on
         Case has settled in part. (Comment below). Mediation is complete.
         Case has not settled. Mediation will continue on      Q-U,(         ,k9) 1-0/1.
    111pursuant
       Case has not settled. Mediation is complete. The case will proceed toward trial
                to the Court's scheduling order.


 Date:      '/Z3//                                 Mediator: /S/

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                             0/4
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                                      Attachment A



      Based on the agreement of the parties at today’s mediation:

      No later than May 14, 2019, plaintiffs’ counsel shall provide to the mediator and
opposing counsel at least the following:

          1. Damages spreadsheet;

          2. An explanation of what damages plaintiffs’ counsel asserts is non-dischargeable
             in bankruptcy.;

          3. The legal compliance plaintiffs’ counsel expects from defendants as part of any
             settlement;

          4. A description of what plaintiffs’ counsel expects in any sworn financial
             statement provided by the defendants.


      No later than July 16, 2019, defense counsel shall provide to the mediator and
opposing counsel at least the following:

          1. Sworn financial statements for the defendants.

          2. A listing of employees who were employed or worked as independent
             contractors for the defendants six years prior to the commencement of this
             action, as well as the number of weeks worked by each individual;

          3. A settlement proposal that includes the amount of a lump sum payment; any
             payments over time; a indication of whether the defendants intends to
             continue their business and if so the compliance steps defendants will
             undertake regarding wage-and-hour compliance.


       On July 30, 2019 at 10:00 AM the parties shall reconvene at the law offices of
Thomas & Solomon LLP to determine if resolution of this matter is possible and under what
terms.
